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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                     UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                V.                                   (For Offenses Committed On or After November 1, 1987)
              DAVID MICHAEL STOKES (12)                                                                                          -r 11
                                                                        Case Number:                 14CR3537-BAS

                                                                     MARC CARLOS
                                                                     Defendant's Attorney
REGISTRATION NO.                    35393408
 o ­
 iZl   pleaded guilty to count(s)      ONE (l) OF THE INDICTMENT

 o was found guilty on count(s)
     after a plea of not guilty.                       .    .'. '.      .       ..... .
 Accordingly, the defendantis adjudged guilty of suchcount(s),whichinvolve theC9llowmg offense(s):
                                                                                                                             Count
 Title & Section                     .Nature of Offense/         :     '.    .•...•.' .'. . •.. ......•         .           Number(sl
 18 USC 1962(d)                      .CONSPIRACY TO'CONl)I1CT'E'NTERPRISE'AFFAIRS                                              1
                                      THROUGH A PATTERN OF RACKETEERING ACTIVITY.




                                          '.         .


     The defendant is sentenced as provided in pages i through . .               4.            . Qfthis judgmem..
 The sentence is imposed pursuant to the Sentencing ReformActof 1984.
 o The defendant has been found not guilty on count(s)
 o Count(s)                                                 is              dismissed on the motion of the United States.

 [8J    Assessment: $100.00




 181 No fineDForfeiture pursuantt().orderfiled                                  .                           .           ,included herein.
        IT IS ORDERED that the defendant shallnotifytQ~United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address Ulltil allfmes, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay resti't\ltion, the defendant shall notify the court and United StatesAttomey of
 any material change in the defendant'seconofl1iC'circurns~ces; .                                .            ...


                                                                     . DECEMBER14. 2015

                                                                      ~~
                                                                      HON~ ASFlANi·.
                                                                      UNItED STATES DISTRICT JUDGE



                                                                                                                            14CR3537-BAS
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DEFENDANT:                  DAVID MICHAEL STOKES (12)                                              Judgment - Page 2 of 4
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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TWENTY FOUR (24) MONTHS.




 o        Sentence imposed pursuant to Title 8 USC Section 1326(b).
  Id8J    The court makes the following recommendations to the Bureau of Prisons:
          THE COURT RECOMMENDS THE DEFENDANT BE DESIGNATED TO A FACILITY IN
          TUCSON, ARIZONA OR AS CLOSE AS POSSIBLE FOR FAMIL Y VISITS.




  o       The defendant is remaildedto the custody of the United States Marshal.

  o       The defendant shall surrender to the United States Marshal for this district:
          o    at
                    ----------~----
                                             A.M.·.·
          o    as notified by the United States Marshal. .

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of
  o       Prisons:
          o    on or before
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.

                                                         RETU~

  I have executed this judgment as follows:

          Defendant delivered on   __________   ~      ____   ~   ______ to ____   ~   __________      ~   ___________


  at _ _ _ _ _ _ _ _---'--'"_, with a certifiedcopyofthisjudgiDent.


                                                                    UNITED STATES MARSHAL



                                      By                      'DEPUTY UNITED STATES MARSHAL


                                                                                                        14CR3537-BAS
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    DEFENDANT:                  DAVID MICHAEL STOKES (12)                                                                    Judgment ~ Page 3 of 4
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o      substance abuse. (Check, ifapplicable;)          .' ...... .... .'     .'       .'...             ,
       The defendant shall not possess a firearm, ammunition, destnictivedevice, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
       Backlog EliminationAct of2000,pursuant to 18 USC section 3583(a)(7) and 3583(d). ' .                     '
       The defendant shall comply with the requirements of the Sex :Offender Registration and Notification Act (42 U.S.C. § 16901, et
o      seq.) as directed by the probation officer, the Bureau ofPrlsons, or any state sex offender registration agency in which he or she
       resides, works, is a student, or was convicted of a qualifying offense. (Check ifapplicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check ifapplicable.)

          If this judgment imposes a fine or a restitution obligation, itshall be 'a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement ofthe teim of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.                                                    .
          The defendant shall comply with the standardconditions.tliat have.been adop~dby this court. The defendant shall also comply
      with any special conditions imposed.. ,      . . . . . , . , .'.    .      ., " . ' . '
                                         STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the Permission ofthe court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and freq\jency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probatiQn officer and follow thl; instniqtionsoftheprobation officer;
     4)  the defendant shall support his or her dept;ndents and meet other family respoP-!!ibilities;      .   .,
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at leasttendaysprlorto any change in residence or employtnent;
     7) the defendant shall. refrain fromeicessive use ofalcohol and shall not purchase, poss~ss, use" distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substarices, except as prescribed by a physician; .                    .
     8) the defendant shall not frequent places where controlled substarices are jIleg!llly sold, u$:d, distributed, oradministered;
     9) the defendant shall not associate with any persons engagediri Ciim~alaCtivity andshaIl notassociate with any person convicted of a felony,
          unless granted permission to do so by the probation 0#icer;         .     '   ....,        .• '.                .
     10) the defendant shall permit a probation officer to visit him or her at any time at home or 'elsewhere imd shall permit confiscation of any contraband
          observed in plain view ofthe probation officer;                   .     '. .      ,        .
     11) the defendant shall notify the probation officer within seventY-two hoursofbeingafrestc:d or queStioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to aetas an informeror a speciall:lgentofa Jaw enforcement agency without the permission of
          the court; and                 ' .                        .' .       ..            .•        . .              .. .      .
      13) as directed by the probation officer, thedefendant shall notify third parties ofrisks that may be'occasioned by the defendant's criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
          with such notification requirement.                                            .



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                               SPECIAL CONDITIONS OF SUPERVISION

    1. Submit your person, property, residence, office, social media accounts, or vehicle to a search, conducted
       by a United States Probation Officer at a reasonable time and in a reasonable manner, based upon
       reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit
       to a search may be grounds for revocation; the defendant shall warn any other residents that the premises
       may be subject to searches pursuant to this condition.

    2. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
       and counseling, as directed by the probation officer. Allow for reciprocal release of information between
       the probation officer and the treatment provider. May be required to contribute to the costs of services
       rendered in an amount to be determined by the probation officer, based on ability to pay.

    3. Participate in a program.ofmental health treatment as directed by the probation officer, take all
       medications as prescribed by apsychiatristlphysician, and notdi~ontinue any medication without
       permission. The court authorizes the release ()fthe presentence report and available psychological
       evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
       release of information between the probation officer and the treatment provider. May be required to
                                                                 to
       contribute to the costs of services rendered in an amount be determined by the probation officer,
       based on ability to pay..

    4. Report all vehicles owned or operated, or in Which you have an interest, to the probation officer.

    5. Resolve all outstanding warrants within.60 days.

    6. Shall not knowingly associate with any known jnember~prospectJor associate ofthe TycoonJAdditup
       Enterprise and LincolnPark, or any other gang, or ,club with a history ofcriminal activity, unless given
       permission by the probation officer.

    7. Shall not knowingly loiter, or be presentinlocations known to be areas where gang members
       congregate, unless permission by the probation officer.

    8. Shall notwearorpossess ~yparapherna1ia,insignia, clothing,photographs, or any other materials
       associated with a gang,unle.ssgiven permissio:n.by the probation officer.

    9. Shall not knowingly associate with prpsti:tutes Or pimps and/or loiter in areas frequented by those engaged
       in prostitution and sex trafficking.




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